Case 4:11-cr-00089-MSD-DEM Document 1501 Filed 07/02/18 Page 1 of 2 PageID# 11030




                                                 VoL             "VVo
                           ^^VcfljA                         ^\^\:tvc)^ Ol^

      ^^CLXCvA ^^C>S_v^\S>
               M.
      l^f>vWA ^!^o^-cN C>^ Cj^Ag-'LvCrv

                                                                          Cx^\<. ^ ^"W <L^f=\- vx

                                                      (^rN^<\<Aglc^cS^ ^U ^\\e:&

             CofA^                                                                        ObIasS
       vj>rvd<L<z. LX5l6 Sg-AtAf\CAr\'^ Cr^^^w\^?>5s^o>A V^
      Ai^/lC^^^-l'. .^S ^                            'O^r^^'.Lf'.cJtjcL j J-o     "Jrht
      "ReAeinPJn.^ Xonc ^T he^h^jy^                                            e/:<^:hk., "^cliliDAtL
      i\AniJe^                                         P.uk Tn           -AubKL A/lJ
      lU^oecL                  ::r;i             {ypr.r^n ^/olacc. uSi'h\ >^c

       •^c Oof\1S ig/e/C^'yij Ars                               Zl/^/yg
                                                                            ^<L\cxA
                                                                              -LQ3_ft^Vr>igv
                         i'.tl/Ar)'.!l)J. rw..iC .',._;^1..>
                                                                             ^P(L ^v\c^aVc^<^m^a
                        rrFH!^ ff^            i.ii!Ci CGaui                  )6b\ voA\rs<^
                           yVK             ~S h        i= i'^               finc^(\V^i:MV\^^\| ^AL?^UU9.
                                 • '<•   -c* •   r   - •'
                              -. »bvi^l/»t-:; >
Case 4:11-cr-00089-MSD-DEM Document 1501 Filed 07/02/18 Page 2 of 2 PageID# 11031




                                                  of SeJLO.

                                         .T      l(V>(3a\-gjc\ H~\iV\ Mg^Vion

            A^slooq^\>        AAKfg^     ID^4^^ilaks-^                    SlP_C_
          rY)QATyim.^v|       'J^u><\t (^lU^        . imPin penp^rL
                           Vc>     ^VW,




           V JY\vT^-er>   v^Toa^Ci     w>.^-^-vv^Tr


                                 AAm2_
                                                    yj




                    V)S. Al^Lfloj (^f^ice.
                          75/ /^kr               /"/fins.
                                     ^OC>
                   /Ica^pnth /}c(Ls^S^ Va S3lpdlp




    1
